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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No.:      19-mc-36

 SAMUEL KATZ, ALEXANDER BRAURMAN, and LYNNE RHODES, individually and on
 behalf of all others similarly situated,

         Petitioners,

 v.

 STARTEK, INC., and StarTek USA, Inc., Delaware and Colorado corporations,

         Respondents.


                             DECLARATION OF ETHAN PRESTON


 ETHAN PRESTON hereby declares:

         1.       My name is Ethan Preston. I am over the age of eighteen and am fully competent

 to make this declaration. I am one of the attorneys representing the Plaintiffs in this proceeding

 and the underlying action pending in the District of Massachusetts. I have personal knowledge of

 all of the facts set forth in this declaration and could testify thereto if called to do so, except

 where specifically stated otherwise.

         2.       I represent Samuel Katz, Alexander Braurman, and Lynne Rhodes as the plaintiffs

 in the case captioned Katz v. Liberty Power Corp., LLC, No. 18-10506, pending in United States

 District Court for the District of Massachusetts (“Plaintiffs”). (See Katz v. Liberty Power Corp.,

 LLC, No. 18-10506, Second Amended Class Action Complaint (D. Mass. Nov. 14, 2018), ECF

 No. 109.) Plaintiffs allege the defendants in the underlying action, Liberty Power Corp., LLC

 and Liberty Power Holdings, LLC (collectively, “Defendants”), and/or their agents violated

 various provisions of the Telephone Consumer Protection Act, 47 U.S.C. § 227, and its



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 implementing regulations (including 47 C.F.R. § 64.1200) (“TCPA”).

         3.       On August 17, 2018, the Defendants filed a motion to bifurcate discovery. (Katz

 v. Liberty Power Corp., LLC, No. 18-10506, Defendants’ Motion to Bifurcate Individual and

 Class Discovery (D. Mass. Aug. 17, 2018), ECF No. 67.) In their motion, the Defendants

 expressly excluded Plaintiffs’ third-party discovery from bifurcation: “Defendants are not

 seeking any restriction on Plaintiffs’ use of third-party discovery, including subpoenas.”

         4.        On February 27, 2018, the court in the underlying case granted Defendants’

 motion to bifurcate discovery, and set a deadline for the “parties [to] complete discovery relevant

 to the alleged TCPA violations committed against the named Plaintiffs by May 22, 2019.” (Katz

 v. Liberty Power Corp., LLC, No. 18-10506, Order (D. Mass. Feb. 27, 2019), ECF No. 125.) On

 April 11, 2018, the court in the underlying case entered an order clarifying the February 27

 bifurcation order:

                  ECF No. [125], Memorandum and Order limits discovery to the issues pertaining
                  specifically to the individual plaintiffs, including the issues identified in the
                  bifurcation motion. This includes information available directly from the plaintiffs
                  and from their service providers. It does not include discovery on Defendants
                  overall implementation of Do-Not-Call policies or questions of agency. Summary
                  Judgment motions should be limited to issues that can be briefed based on that
                  level of discovery.

 (Katz v. Liberty Power Corp., LLC, No. 18-10506, Order (D. Mass. Apr. 11, 2019), ECF No.

 135.)

         5.       At a minimum, Plaintiffs still need call records which evidence all Mezzi’s calls

 to the individual Plaintiffs for summary judgment.

         6.       Discrepancies in Defendants’ Discovery Responses: On May 1, 2019,

 Defendants served answers to interrogatories which stated, in relevant part, “Mezzi Marketing

 called [Katz’s telephone number] ten times from the telephone number 508-202-1270. See Bates




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 LP_3856, 2409,” although Defendants denied that Mezzi acted as their agent when it made these

 calls.

          7.      Plaintiffs have obtained many documents showing that Defendants controlled

 Mezzi, and in particular were able to obtain any call records Defendants sought from Mezzi.

 However, Defendants have not produced any call records evidencing Mezzi’s calls to Katz’s

 telephone number. Defendants have not produced any call records of calls to other Plaintiffs,

 although it is clear that Defendants included the other Plaintiffs’ contact information in call lists

 that were uploaded to Defendants’ telemarketers (including Mezzi). (LP_001245-57,

 LP_003528, LP_003529.) These are just examples of the troubling discrepancies in Defendants’

 production, and Defendants have repeatedly refused to discuss the scope of their search or

 production.

          8.      The Subpoena: On April 3, 2019, Plaintiffs served a subpoena (“Subpoena”) on

 StarTek, Inc. and StarTek USA, Inc. (“StarTek”) for various documents, including documents

 related to (1) calls that Mezzi made for Defendants and (2) calls Defendants or their

 telemarketers made to Plaintiffs’ telephone numbers. A true and correct copy of the Subpoena

 (and proof of service) is attached as Exhibit 1 to this Declaration, except Plaintiffs’ telephone

 numbers have been partially redacted to preserve their privacy. The Subpoena’s production

 deadline was April 19.

          9.      StarTek’s Untimely Response: On April 22, 2019, StarTek sent an email to

 Plaintiffs’ counsel, which stated the production for the Subpoena “was due to you this past

 Friday 4/19,” and sought direction on the Subpoena. On April 23, Plaintiffs’ counsel responded

 by explaining the nature of the case, and the nature of the documents sought by the Subpoena.

 Later that day, StarTek’s in-house counsel emailed Plaintiffs’ counsel, acknowledging that “the




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 response date has already passed,” that he was “reviewing the subpoena and will respond as

 necessary,” and alerting Plaintiffs that StarTek would contact Defendants about the Subpoena.

         10.      On April 24, 2019, Plaintiffs’ counsel sent an email to which stated in relevant

 part: “We do have a discovery deadline later in May. If StarTek can produce responsive

 documents far enough in advance of that May deadline for us to confirm the production, the

 missed April 19 deadline is not a real concern for us.”

         11.      On April 26, 2019, StarTek’s in-house counsel emailed to indicate that he was

 “working with [StarTek’s] team to gather any responsive information.”

         12.      On April 30, 2019, StarTek referred the matter to its outside counsel. A true and

 correct copy of the relevant email chain which includes most of the foregoing communications is

 attached as Exhibit 2 to this Declaration. On May 1, Plaintiffs’ counsel met and conferred

 telephonically with StarTek’s counsel, explained that the Subpoena was necessary to fill in gaps

 in Defendants’ production, and again reiterated that Plaintiffs could not afford to delay up until

 their May 22 deadline.

         13.      StarTek’s Untimely Objection: On May 3, 2019, StarTek’s counsel advised that

 StarTek objected to the Subpoena:

                  StarTek objects to your clients’ subpoena as unduly burdensome. StarTek is a
                  third party, and the documents and data sought by the subpoena should be
                  obtained from Defendants in the normal course of discovery, including Third-
                  Party Defendant Mezzi Marketing. The view that Defendants have not met their
                  discovery obligations does not justify the burden the subpoena imposes on
                  StarTek. Without waiving this objection, StarTek agrees it will review available
                  records for documents potentially responsive to the subpoena. It is undertaking
                  that effort and will respond back shortly concerning the results of its review and
                  potentially responsive documents.

 Later that day, Plaintiffs’ counsel responded by email stating:

                  I appreciate the prompt and candid response. Our view is that these objections
                  were waived under Rule 45(d)(2)(B), and that any in event the Defendants' failure



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                  to produce documents (however regrettably) does permit and require Plaintiffs to
                  pursue discovery from StarTek, and that Plaintiffs cannot wait to proceed to Court
                  in the hopes that either Defendants or StarTek will produce documents.

                  Please call me at 415 842 4666 if you have any questions or comments.

         14.      Certification: Pursuant to 28 U.S.C. § 1746, I certify under penalty of perjury

 under the laws of the United States of America that the foregoing is true and correct.

 Dated: May 3, 2019                     By:    s/Ethan Preston
                                                Ethan Preston




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                                   EXHIBIT 1
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                                    EXHIBIT 2
  Exhibits to Preston Declaration
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RE: Katz v. Liberty Power Corp.



         Subject: RE: Katz v. Liberty Power Corp.
         From: Doug Tackett <Doug.Tackett@startek.com>
         Date: 4/30/19, 10:05 AM
         To: Ethan Preston <ep@eplaw.us>
         CC: 'Shaun Lieberman' <ylieberman@parasmoliebermanlaw.com>, "David C.
         Parisi" <dcparisi@parisihavens.com>, "Sturhahn, Jerome H."
         <jsturhahn@shermanhoward.com>

         Ethan, I have turned this over to our outside counsel, Jay Sturhahn, who is copied on this
         e-mail.  I expect he will be in touch with you.

         Doug

         From: Ethan Preston <ep@eplaw.us>
         Sent: Monday, April 29, 2019 10:00 AM
         To: Doug Tackett <Doug.Tackett@startek.com>
         Cc: 'Shaun Lieberman' <ylieberman@parasmoliebermanlaw.com>; David C. Parisi
         <dcparisi@parisihavens.com>
         Subject: Re: Katz v. Liberty Power Corp.

         Hi Doug, we wanted to check back in on StarTek and get the status of the production. Thanks,
         Ethan

         On 4/26/19 10:12 AM, Doug Tackett wrote:
                Thanks Ethan. I am working with our team to gather any responsive
                information.

                Doug

                From: Ethan Preston <ep@eplaw.us>
                Sent: Wednesday, April 24, 2019 10:59 AM
                To: Doug Tackett <Doug.Tackett@startek.com>
                Cc: 'Shaun Lieberman' <ylieberman@parasmoliebermanlaw.com>; David C.
                Parisi <dcparisi@parisihavens.com>
                Subject: Re: Katz v. Liberty Power Corp.

                Dear Mr. Tackett,

                We do have a discovery deadline later in May. If StarTek can produce responsive
                documents far enough in advance of that May deadline for us to conﬁrm the
                production, the missed April 19 deadline is not a real concern for us. We did of
                course provide Liberty Power's counsel notice of the subpoena.

                Thanks,


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RE: Katz v. Liberty Power Corp.




             Ethan Preston

             On 4/23/19 9:33 PM, Doug Tackett wrote:
                   Gentlemen,

                   My name is Doug Tackett and I am the Chief Legal Oﬃcer for
                   StarTek. I am in receipt of the attached subpoena in the above
                   referenced matter. There was some confusion in our organization
                   upon receiving this subpoena as we are accustomed to receiving
                   subpoenas for employee records and this matter was originally
                   routed as such. It was brought to my attention within the past 10
                   days but, unfortunately, I was out of the country on business and
                   was not able to attend to it upon receipt. I note that the response
                   date has already passed, but I am hopeful that will not be an issue.

                   In any event, I wanted to let you know that I am reviewing the
                   subpoena and will respond as necessary. I also wanted to let you
                   know that as a matter of client courtesy, I will be informing Liberty
                   Power’s counsel of the matter. I am sure they are already aware
                   that the subpoena was issued, but I have certain obligations given
                   Liberty Power’s status as a current or former customer.  

                   If you have any questions or concerns, please do not hesitate to let
                   me know.

                   Doug Tackett | Global Chief Legal and Compliance Oﬃcer & Secretary


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                   STARTEK Denver
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                   Greenwood Village, CO 80111
                   615.678.1729 Direct  |  615.483.2308 Mobile
                   doug.tackett@startek.com

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                   This email and any ﬁles transmitted with it are conﬁdential and intended solely for the use of the
                   individual or entity to which it is addressed.  Any views or opinions presented are solely those of the
                   author and do not necessarily represent those of STARTEK, Inc.


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